Case 2:05-cr-20184-.]PI\/| Document 19 Filed 06/23/05 Page 1 of 2 Page|D 24

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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UNITED STATES OF AMERICA
Plaintiff,

VS. CR. NO. 05-20184-Ml

TYRONE HAWKINS

Defendant.

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ORDER ON CHANGE OF PLEA

 

This cause came to be heard on June 15, 2005, the United States
Attorney for this district, Greg Gilluly, appearing for the Government and
the defendant, Tyrone Hawkins, appearing in person and With counsel, Scott
Hall, who represented the defendant.

with leave of the Court, the defendant Withdrew the not guilty plea
heretofore entered and. entered a plea of guilty to Count l of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for THURSDAY, SEPTEMBER 15, 2005, at
9:00 a.m., in Courtroom No. 4, on the 9th floor before Judge Jon Phipps
McCalla.

Defendant is allowed to remain released on present bond.

ENTERED this the ¢ézz day of Juner 2005.

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Jo PHI`PPS MccALLA
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Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CR-20184 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

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Honorable .1 on McCalla
US DISTRICT COURT

